Case 1:18-cv-02427-RBJ Document 44 Filed 12/13/18 USDC Colorado Page 1 of 10




                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO


_______________________________
Matthew Buck.,                                    Civil Action: No 18-cv-02427
Plaintiff,
v.
BORA SONG,
And
HYE SONG
Defendants.
______________________________




                 THIRD AMENDED COMPLAINT AND JURY DEMAND
Case 1:18-cv-02427-RBJ Document 44 Filed 12/13/18 USDC Colorado Page 2 of 10




                                NATURE OF THE ACTION

       1.     This is an action under 28 U.S.C § 1332, alleging defamation per se

against Bora Song or Hye Song, either or both of which attempted to injure the Plaintiff’s

reputation. As asserted with greater particularity below, the Plaintiff asserts two causes

of action against the Defendants.

                                          PARTIES

       2.     Plaintiff Matthew Buck is a resident and citizen of Colorado.

       3.     Defendant Bora Song is a citizen and resident of California.

       4.     Defendant Hye Song is a resident of Los Angeles, CA.

                               JURISIDICTION AND VENUE

       5.     This Court has subject matter jurisdiction of this matter under 28 U.S.C §

1332 because there is complete diversity of the parties and the amount in controversy is

greater than $75,000.00, exclusive of interest and costs.

       6.     Defendants are subject to personal jurisdiction in this Court through the

Colorado long-arm statute,

                                                               intentionally and purposefully

sent harassing and defamatory tweets and messages via the internet to residents of the

forum state of this court, including Plaintiff’s wife a Co-Worker of Plaintiff’s wife.

       7.     Venus in this court is proper under 28 U.S.C § 1391(b) because a

substantial part of the events and omissions giving rise to Plaintiff’s claims occurred.
Case 1:18-cv-02427-RBJ Document 44 Filed 12/13/18 USDC Colorado Page 3 of 10




                                STATEMENT OF FACTS

      The Defendants Target Plaintiff with Harassing, Shocking Accusations

       8.      On or about September 20, 2018, Defendants registered a Twitter account

with the username “WilliamWilma2.”

       9.      Between September 20, 2018, and September 26, 2018, Defendants used

the WilliamWilma2 account to make untrue, defamatory, and harassing statements

about the Plaintiff.

       10.     On September 21, 2018, Defendants published the following Twitter

message (identifying information redacted):




       11.     The Plaintiff has never communicated with the Defendants using this

account, and has never knowingly or intentionally contacted a minor on Twitter. The
Case 1:18-cv-02427-RBJ Document 44 Filed 12/13/18 USDC Colorado Page 4 of 10




Plaintiff possesses no pictures of minors, and has never made any type of threat or

claim regarding the alleged pictures.

       12.    During the same time period, Defendants also sent harassing messages

and tweets to the Plaintiff’s wife, as well as a Co-Worker of Plaintiff’s wife. These

messages and tweets publicly alleged that the Plaintiff would rape or already had raped

his own young daughters, as well as the Co-Worker’s daughter.

       13.    These tweets represent mere examples of the multiple pages of false

accusations and allegations regarding Plaintiff. In fact, on September 20, 2018, the

Defendants tweeted the following (identifying information redacted):
Case 1:18-cv-02427-RBJ Document 44 Filed 12/13/18 USDC Colorado Page 5 of 10




       14.    On September 24, 2018, after the Plaintiff made his Twitter account

private in an attempt to limit harassment by Defendants. The same day, Defendants

emailed the following to the Plaintiff via his law firm’s website, which provides that the

Plaintiff lives and practices in Denver, Colorado:

       Hello you piece of shit. You should fuck off of twitter. Ill make sure I keep
       sending your tweets out to people on my account. I dont give a fuck that
       you're private and people cant see you. Ill make sure that they do. You're
       a piece of fucking shit and your wife will get mails of your bullshit. Good
       luck raising your daughters. I know you're bored so Ill make sure to keep
       this drama fueled.

                            The Defendants Are Unmasked

       15.    Computers connected to the Internet must speak the "Internet language"

called the "Internet Protocol" or simply "IP." Each computer is assigned a unique

address somewhat similar to a street address or telephone number. Under the current

system there are four numbers that range from 0 to 255 (Example: 206.156.18.122).

Every computer, whether it functions as a web site, is being used by a web surfer, is a

mail server, and/or is used for any other function, has an IP address so it can

communicate across the Internet. Communication is accomplished by sending pieces of

information called "packets" that include the IP address of the destination computer.

       16.    Because Bora and Hye Song contacted the Plaintiff through his law firm’s

website, Plaintiff was able to determine that the e-mail was sent from the IP address of

172.118.193.100. Plaintiff used an IP look-up table to determine that this IP address

was associated with Charter Communications. Pursuant to that information, the Plaintiff

Subpoenaed Charter Communications on October 9, 2018.
Case 1:18-cv-02427-RBJ Document 44 Filed 12/13/18 USDC Colorado Page 6 of 10




       17.    On October 30, 2018, this court granted an order for Charter to disclose

the billing and identifying information of the owner of the Charter IP address.

       18.    On [DATE], Charter responded to Plaintiff’s Subpoena with information

that showed that IP address 172.118.193.100 was associated with an account

registered to Hye Song.

       19.    Plaintiff subpoenaed Twitter, Inc. on [DATE] for information regarding the

registration details and IP addresses which had logged into the account posting

defamatory tweets WilliamWilma2, and Bora Song’s personal twitter account irl_idgaf.

       20.    Pursuant to the subpoena, Twitter produced information showing that both

Bora Song’s personal twitter account and the WilliamWilma2 account were repeatedly

logged into from the same IP address: 172.118.193.100.

       21.    The WilliamWilma2 twitter account was logged into from 172.118.193.100

on 9 occasions from September 16, 2018, through September 24, 2018 – including on

September 24, 2018 at 4:51am, PST. This was less than 5 hours after the same IP

address was used to send the harassing e-mail to the Plaintiff through his website.

       22.    The irl_idgaf account logged in from the 172.118.193.100 on more than 20

occasions from September 16 through September 24, 2018, including on September

24, 2018 at 5:47pm, PST. This occurred within an hour of the same IP address logging

into the WilliamWilma2 account.

       23.    Twitter’s subpoena response also showed that the irl_idgaf account was

registered with an associated phone number of 213-220-1784.

       24.    Plaintiff was able to determine that 213-220-1784 is a phone number

associated with Sprint PCS, Inc.. Based upon this information, Plaintiff issued a
Case 1:18-cv-02427-RBJ Document 44 Filed 12/13/18 USDC Colorado Page 7 of 10




subpoena to Sprint on [DATE] for information regarding the subscriber of 213-220-1784

and IP addresses associated with the account.

      25.     In response to the subpoena, Sprint provided subscriber information

showing that 213-220-1784 is associated with Bora Song, Emory Law School 2018

graduate, who resides in Los Angeles, California.

      26.    While in use on Sprint’s network, Bora Song’s phone is assigned a

session IP address obtained from Sprint’s DHCP server. The assigned session IPs all

fall into the range of 99.203.XXX.XXX, where the XXX represents a random series of

numbers.

      27.    The WilliamWilma2 account accessed Twitter’s served with a Sprint IP

address four times in the September time-period that the account was active.

      28.    On September 17, 2018 at 6:40pm, PST, the WilliamWilma2 account

accessed Twitter from 99.203.11.87. That same day, at 6:49pm, PST, the irl_idgaf

account owned by Bora Song accessed Twitter from 99.203.11.87.

      29.     On September 17, 2018 at 8:40pm, PST, the WilliamWilma2 account

accessed Twitter from 99.203.11.125. That same day, at 8:30pm, PST, the irl_idgaf

account accessed Twitter from 99.203.11.125.

      30.    On September 23, 2018, Defendants logged into the WilliamWilma2

account from the IP address 172.118.193.100 to post inflammatory, false, and

defamatory tweets alleging that Plaintiff was sending messages to and had threatened

her 16-year-old daughter. Williamwilma2 also claimed to be a mother of four children

residing in Texas.
Case 1:18-cv-02427-RBJ Document 44 Filed 12/13/18 USDC Colorado Page 8 of 10




      31.    Bora Song is 25 years old and does not have any children, let alone a 16-

year-old daughter.

      32.    Hye Song also does not have a 16-year-old daughter.

      33.    Notably, Defendant Bora Song also accessed the account she created to

defame and harass the Plaintiff while employed by the LA County Public Defender’s

office as an intern, where she was employed from August 13, 2018 to October 26, 2018.

She further created this account after taking the California bar exam in July 2018 and

while her admission to the California bar was pending.

                               FIRST CLAIM FOR RELIEF

                                   (Defamation per se)

   34. Plaintiff incorporates all allegations above into this cause of action.




   36. Defendants have used the Williamwilma2 account to accuse Plaintiff of crimes

      and serious sexual misconduct. Specifically, Defendants have accused Plaintiff

      of sexually harassing a minor over Twitter, possessing child pornography, and

      raping his own pre-adolescent daughters and the daughter of his wife’s co-

      workers.

   37. Defendants’ Twitter messages have been seen by hundreds of people and

      remain publicly viewable on Twitter.
Case 1:18-cv-02427-RBJ Document 44 Filed 12/13/18 USDC Colorado Page 9 of 10




   38. Defendants have acted with actual malice and performed these actions with the

      intent to cause serious injury to Plaintiff, including the filing of criminal charges,

      loss of business, and emotional and bodily injury.

   39. The Plaintiff is not a public figure, and therefore there is no actual malice

      requirement intended.

   40. The matter here is not a matter of public concern.

   41. Defendant’s damages are presumed as defamation per se.

                             SECOND CLAIM FOR RELIEF

                     (§ 18-9-111. Harassment--Kiana Arellano's law)

   42. The applicable Colorado State Harassment statute is as follows:

      (1) A person commits harassment if, with intent to harass, annoy, or alarm
      another person, he or she:
      ***
       (b) In a public place directs obscene language or makes an obscene
      gesture to or at another person; or
      ***
       (e) Directly or indirectly initiates communication with a person or directs
      language toward another person, anonymously or otherwise, by
      telephone, telephone network, data network, text message, instant
      message, computer, computer network, computer system, or other
      interactive electronic medium in a manner intended to harass or threaten
      bodily injury or property damage, or makes any comment, request,
      suggestion, or proposal by telephone, computer, computer network,
      computer system, or other interactive electronic medium that is obscene;
      or
      ***
       (h) Repeatedly insults, taunts, challenges, or makes communications in
      offensively coarse language to, another in a manner likely to provoke a
      violent or disorderly response.
      ***
      (1.5) As used in this section, unless the context otherwise requires,
      “obscene” means a patently offensive description of ultimate sexual acts
      or solicitation to commit ultimate sexual acts, whether or not said ultimate
      sexual acts are normal or perverted, actual or simulated, including
      masturbation, cunnilingus, fellatio, anilingus, or excretory functions.
Case 1:18-cv-02427-RBJ Document 44 Filed 12/13/18 USDC Colorado Page 10 of 10




    43. Defendants have used the internet, including through Twitter and email, to

        harass Plaintiff, his wife, and his wife’s co-worker.

    44. Plaintiffs messages were made publicly and remain viewable to the public today.,

    45. The repeated insults and taunts used coarse language and are said in a manner

        likely to provoke a violent response.

                                    PRAYER FOR RELIEF

    46. WHEREFORE the Plaintiff respectfully requests that this court

            a. Grant a preliminary injunction enjoining Hye and Bora Song from

               contacting the Plaintiff.

            b. Order defendants Hye and Bora Song, to pay Plaintiff punitive damages

               for their malicious conduct, as described in the paragraphs above, in

               amounts to be determined at trial;

            c. Grant such other and further relief as the Court deems just, necessary,

               and proper in the public interest; and

            d. Award Plaintiff costs and applicable attorney’s fees.



 The Plaintiff requests a jury trial on all questions of fact raised by its complaint.



 DATED: December 12, 2018
                                                                      Respectfully Submitted,
                                                                         /S Matthew W Buck
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